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 5                               UNITED STATES DISTRICT COURT

 6                                      DISTRICT OF NEVADA

 7   UNITED STATES OF AMERICA,                         )
                                                       )
 8                         Plaintiff,                  )
                                                       )
 9          v.                                         )           2:11-CR-048-JCM-(CWH)
                                                       )
10   NANCY MAGENO,                                     )
                                                       )
11                         Defendant.                  )

12                                      ORDER OF FORFEITURE

13         On May 24, 2012, defendant NANCY MAGENO was found guilty by a jury of Count One of

14   the Criminal Indictment charging her in Count One with Conspiracy to Distribute More Than 50

15   Grams of Methamphetamine in violation of Title 21, United States Code, Sections 841(a)(1) and

16   846. Jury Verdict, ECF No. 229.

17         This Court finds that NANCY MAGENO shall pay a criminal forfeiture money judgment of

18   $44,400.00 in United States Currency to the United States of America, pursuant to Fed. R. Crim. P.

19   32.2(b)(1) and (2); Title 21, United States Code, Section 853(a)(1) and (p).

20         THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

21   States recover from NANCY MAGENO a criminal forfeiture money judgment in the amount of

22   $44,400.00 in United States Currency.

23                June
           DATED this   6, 2012.
                      ______ day of __________________, 2012.

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25
                                                 UNITED STATES DISTRICT JUDGE
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